                              Case 20-50627-CTG                       Doc 2         Filed 06/17/20               Page 1 of 6
                                             IN THE UNITED STATES BANKRUPTCY COURT
                                                  FOR THE DISTRICT OF DELAWARE

In re:                                                                                         Chapter 7

THE ART INSTITUTE OF PHILADELPHIA LLC, et al.,1                                                Case No. 18-11535 (LSS)
                                                                                               (Jointly Administered)
                             Debtors.
GEORGE L. MILLER, Chapter 7 Trustee,
                                                                                               JURY TRIAL DEMANDED
                                             Plaintiff,
                               vs.
                                                                                               Adversary Proceeding
TODD S. NELSON, JOHN R. MCKERNAN, SAMUEL C. COWLEY,                                            Case No. 20-50627 (LSS)
EDWARD WEST MARK A. MCEACHEN, FRANK JALUFKA, J.
DEVITT KRAMER, MARK NOVAD, JOHN DANIELSON, AND
MICK BEEKHUIZEN,


                                             Defendants.

             SUMMONS AND NOTICE OF PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the
clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United States and its
offices and agencies shall file a motion or answer to the complaint within 35 days.

                         Address of Clerk:                 United States Bankruptcy Court
                                                           824 North Market Street, 3rd Floor
                                                           Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the Plaintiff’s attorney. Name and address of
Plaintiff’s attorneys:

            PACHULSKI STANG ZIEHL & JONES LLP                                                    KAUFMAN, COREN & RESS, P.C.
                        Bradford J. Sandler                                                              Steven M. Coren
                        Colin R. Robinson                                                              Benjamin M. Mather
                919 North Market Street, 17th Floor                                                      Francis X. Lane
            Wilmington, DE 19899-8705 (Courier 19801)                                            Two Commerce Square, Suite 3900
                    Telephone: (302) 652-4100                                                           2001 Market Street
                                                                                                     Philadelphia, PA 19103
                                                                                                    Telephone: (212) 735-8700

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.



1
  The last four digits of the Debtors’ taxpayer identification numbers are as follows: American Education Centers, Inc. (6160); Argosy Education Group, Inc.
(5674); Argosy University of California LLC (1273); Brown Mackie College - Tucson, Inc. (4601); Education Finance III LLC (2533); Education
Management LLC (6022); Education Management II LLC (2661); Education Management Corporation (9571); Education Management Holdings II LLC
(2529); Higher Education Services II LLC (3436); Miami International University of Art & Design, Inc. (1065); South Education – Texas LLC (2573); South
University of Florida, Inc. (9226); South University of Michigan, LLC (6655); South University of North Carolina LLC (9113); South University of Ohio LLC
(9944); South University of Virginia, Inc. (9263); South University, LLC (7090); Stautzenberger College Education Corporation (4675); TAIC-San Diego, Inc.
(1894); TAIC-San Francisco, Inc. (9487); The Art Institutes International Minnesota, Inc. (6999); The Art Institute of Atlanta, LLC (1597); The Art Institute of
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(0283); The New England Institute of Art, LLC (7798); The University of Sarasota, Inc. (5558);Western State University of Southern California (3875).



DOCS_DE:229175.1 57092/001
                       Case 20-50627-CTG              Doc 2      Filed 06/17/20       Page 2 of 6
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be held at
the following time and place.


                             Address: United States Bankruptcy Court   Courtroom No. 2
                             824 N. Market Street, 6th Floor
                             Wilmington, DE 19801                      Date and Time: TO BE DETERMINED

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO
ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST
YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


United States Bankruptcy
Court for the District of Delaware

                                                              /s/ Una O’Boyle
Date: June 17, 2020                                           Clerk of the Bankruptcy Court




DOCS_DE:229175.1 57092/001
                  Case 20-50627-CTG           Doc 2      Filed 06/17/20      Page 3 of 6



                                     CERTIFICATE OF SERVICE

I, Colin R. Robinson, certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made. I further certify
that the service of this summons and a copy of the complaint were made June 17, 2020 by:


        Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:

                                   SEE ATTACHED SERVICE LIST

        Personal Service: By leaving the process with defendant or with an officer or agent of defendant
at:


        Residence Service: By leaving the process with the following adult at:


        Certified Mail Service on an Insured Depository Institution: By sending the process by certified
mail addressed to the following officer of the defendant at:


        Publication: The defendant was served as follows: [Describe briefly]


        State Law: The defendant was served pursuant to the laws of the State of ___________________,
        as follows: [Describe briefly]                                                  (name of state)

        Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: June 17, 2020                                       /s/ Colin R. Robinson
                                                           Colin R. Robinson (DE Bar No. 5524)
                                                           PACHULSKI STANG ZIEHL & JONES LLP
                                                           919 North Market Street, 17th Floor
                                                           P O Box 8705
                                                           Wilmington, DE 19899-8705 (Courier 19801)




DOCS_DE:229175.1 57092/001
                  Case 20-50627-CTG    Doc 2   Filed 06/17/20   Page 4 of 6




Adv. Service List
10-First Class Mail
Doc 229175

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DOCS_DE:229175.1 57092/001
                                   Case 20-50627-CTG                       Doc 2          Filed 06/17/20               Page 5 of 6
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                                               Defendants.

                                                NOTICE OF DISPUTE RESOLUTION ALTERNATIVES

        As party to litigation you have a right to adjudication of your matter by a judge of this Court. Settlement of your
case, however, can often produce a resolution more quickly than appearing before a judge. Additionally, settlement can
also reduce the expense, inconvenience, and uncertainty of litigation.

        There are dispute resolution structures, other than litigation, that can lead to resolving your case. Alternative Dispute
Resolution (ADR) is offered through a program established by this Court. The use of these services are often productive
and effective in settling disputes. The purpose of this Notice is to furnish general information about ADR.

        The ADR structures used most often are mediation, early-neutral evaluation, mediation/arbitration and arbitration.
In each, the process is presided over by an impartial third party, called the “neutral”.

         In mediation and early neutral evaluation, an experienced neutral has no power to impose a settlement on you. It
fosters an environment where offers can be discussed and exchanged. In the process, together, you and your attorney will
be involved in weighing settlement proposals and crafting a settlement. The Court in its Local Rules requires all ADR
processes, except threat of a potential criminal action, to be confidential. You will not be prejudiced in the event a settlement
is not achieved because the presiding judge will not be advised of the content of any of your settlement discussions.

        Mediation/arbitration is a process where you submit to mediation and, if it is unsuccessful, agree that the mediator
will act as an arbitrator. At that point, the process is the same as arbitration. You, through your counsel, will present

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DOCS_DE:229175.1 57092/001
                             Case 20-50627-CTG        Doc 2     Filed 06/17/20       Page 6 of 6
evidence to a neutral, who issues a decision. If the matter in controversy arises in the main bankruptcy case or arises from
a subsidiary issue in an adversary proceeding, the arbitration, though voluntary, may be binding. If a party requests de novo
review of an arbitration award, the judge will rehear the case.

      Your attorney can provide you with additional information about ADR and advise you as to whether and
when ADR might be helpful in your case.

 Dated: June 17, 2020                                      /s/ Una O’Boyle
                                                           Clerk of the Court




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DOCS_DE:229175.1 57092/001
